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 6                       IN THE UNITED STATES DISTRICT COURT
 7                               FOR THE DISTRICT OF ARIZONA
 8
 9   United States of America,                         No. CR-20-00634-001-PHX-DWL
10                  Plaintiff,                         ORDER
11   v.
12   Jill Marie Jones,
13                  Defendant.
14
15          On November 9, 2020, the Court issued an Order (Doc. 22) which directed counsel
16   to file a joint status report “advising the Court regarding the status of the case and the
17   likelihood that the trial will commence on December 1, 2020.” On November 12, 2020,
18   counsel filed the Joint Status Report (Doc. 24). On Page 2, Lines 1 and 2 state, “No
19   discovery has been produced to date. Accordingly, the matter will not be ready to proceed
20   to trial on December, 2020.” As of this date, no motion to continue trial has been filed.
21          IT IS ORDERED directing counsel to file a supplement joint status report regarding
22   the status of the case no later than 5:00 p.m., November 20, 2020.
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            Dated this 19th day of November, 2020.
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